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                                     UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF NEW YORK

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X
LEOPARD SOLUTIONS LLC,                                                   :
                                                                         :
                                         Plaintiff,                      :      Index No. 21-10264
                                                                         :
          v.                                                             :      JURY DEMANDED
                                                                         :
MURRAY LOVE,                                                             :
LEGALIST, INC.,                                                          :
XYZ COMPANIES and                                                        :
JOHN OR JANE DOES 1-10,                                                  :
                                                                         :
                                                                         :
                                         Defendants.
                                                                         :
- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- X


                                                      COMPLAINT

         Plaintiff Leopard Solutions LLC (“Plaintiff” or “Leopard Solutions”), by and through its

undersigned counsel, as and for its Complaint against Murray Love (“Love”), Legalist, Inc.

(“Legalist”), XYZ Companies and John or Jane Does 1-10 alleges as follows:

                                                NATURE OF ACTION

         1.        Leopard Solutions, a leading content provider of information on attorneys and the

legal industry, brings this action against Love and Legalist, a litigation funding company, to seek

recourse for Love’s willful misappropriation of Plaintiff’s confidential and proprietary content. In

August 2021, Love, an officer of Legalist, contacted Leopard Solutions regarding purchasing a

subscription to Leopard Solutions’ database platform and was granted access to Leopard

Solutions’ proprietary database on a free trial basis in order to view Leopard Solutions’ system

before purchasing a subscription. Such access was provided to Love on the condition that no

downloads of any content were allowed. However, once he gained access to Leopard Solutions’

system, Love formulated a deliberate plan to copy nearly all of the information in Leopard


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Solutions’ database for his and Legalist’s benefit. As part of this scheme, Love circumvented

Leopard Solutions’ security features and copied enormous swaths of Leopard Solutions’

proprietary content. Accordingly, Plaintiff brings this action for breach of contract, unjust

enrichment, unfair competition and misappropriation of trade secrets under the laws of the State

of New York, for violation of the California Computer Data Access and Fraud Act under the laws

of the State of California and for violation of the federal Defense of Trade Secrets Act.


                                            PARTIES

        2.      Plaintiff Leopard Solutions is a New York corporation with an office at 37 West

39th Street, Suite 301, New York, NY 10018.

        3.      Upon information and belief, Love is an individual and resident of California.

Upon information and belief, he is also the Director of Product at Legalist and the moving, active,

conscious force behind the wrongful conduct alleged herein.

        4.      Upon information and belief, Legalist is a Delaware corporation with a principal

place of business at 880 Harrison Street, San Francisco, CA 94107.

        5.      Leopard Solutions is currently unaware of the true names and identities of

Defendants XYZ Companies 1-10 and John or Jane Does 1-10, but is informed and believes that

such persons and entities are liable for the violations alleged in this Complaint. Leopard Solutions

may seek leave to amend this Complaint at an appropriate time to add specific information

regarding these defendants upon determination of their true identities.




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                                 JURISDICTION AND VENUE

        6.      This Court has original jurisdiction pursuant to 28 U.S.C. § 1331 et seq. This Court

has supplemental jurisdiction over the claims arising under the laws of New York and California

pursuant to 28 U.S.C. § 1367.

        7.      This Court also has original jurisdiction pursuant to 28 U.S.C. § 1332 et seq.

because this action is between citizens of different states and the amount in controversy exceeds

$75,000.

        8.      Personal jurisdiction exists under NY CPLR § 302 over Defendants who have

committed the acts complained of herein, including tortious acts, within the New York State and

have caused injury to Plaintiff in New York State. Defendants have also entered into contracts and

transacted business in New York State, and Defendants’ activities were purposeful and there is a

substantial relationship between the transactions with Plaintiff and the claims asserted herein. In

the alternative, the Court also has personal jurisdiction under NY CPLR § 302 over Defendants

pursuant to a contractual forum selection and jurisdiction clause.

        9.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)-(c) because

Plaintiff is a New York limited liability company with its principal place of business in New York,

and a substantial part of the events giving rise to the claims occurred in New York.


                                  FACTUAL BACKGROUND

Background Regarding Leopard Solutions

        1.      Leopard Solutions is a business intelligence platform and information service

provider that offers information on law firms, attorneys and the legal industry to individuals and

businesses in the legal field (the “Content”). The core of Leopard Solutions’ Content is The

Leopard List, an extensive database of biographical information on attorneys for use for business
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development and recruiting purposes.         Leopard Solutions uses proprietary software and

confidential, internal protocols to operate Leopard Solutions’ database platform and provides

cutting edge software products and tools for business intelligence analysis.

        2.      Leopard Solutions’ Content is extremely comprehensive and has been developed at

great cost and expense over many years. The Content is constantly updated and edited to meet

Leopard Solutions’ standards and includes historical information regarding attorneys and firms

that has been developed and maintained by Leopard Solutions for over a decade. The Content is

Leopard Solutions most valuable asset and represents the collective intelligence of Leopard

Solutions’ members and employees working for many years to identify, acquire, select, arrange,

sort, edit and annotate information on attorneys, law firms and the legal industry (“Leopard

Solutions’ Proprietary Information”).

        3.      Leopard Solutions is the owner of all trademarks, copyrights and other intellectual

property used in connection with its services, software and Leopard Solutions’ Proprietary

Information.

        4.      Leopard Solutions licenses subscribers – typically legal recruiters, attorneys and

law firms – to access and use Leopard Solutions’ Proprietary Information for certain purposes.

Legal recruiters typically use this information to match attorneys with job listings, and law firms

and corporations typically use this information to seek talent and also for market research and

competitive intelligence in the legal industry.

        5.      Depending on the subscription plan, subscribers are given access to Leopard

Solutions’ software system, consisting of its platform for accessing and searching Leopard

Solutions’ Proprietary Information, through an online portal located at Leopard Solutions’ website

at https://www.leopardsolutions.com (“Leopard Solutions’ Website”).             Access to Leopard
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Solutions’ software platform is protected through passwords and an authentication process. Once

logged-in to Leopard Solutions’ platform, subscribers can search for information using Leopard

Solutions’ interface and defined search parameters.

        6.      The cost of a subscription depends on the number of Authorized Users, the data to

be accessed and the period of the subscription. Leopard charges additional fees for access through

an API or other integration with a subscriber’s system. Leopard also provides customized business

intelligence reports and other data for a fee.

        7.      While certain information on individual attorneys may be publicly available from

different sources, the comprehensive combination of current and historical information on

attorneys and law firms as consolidated in Leopard Solution’s Proprietary Information, and the

form, mode, selection, configuration, presentation and expression thereof, and associated software

and protocols, constitute trade secrets of Leopard Solutions (“Leopard Solutions’ Trade Secrets”).

        8.      Leopard Solutions works diligently to protect the integrity and security of its

software platform and of Leopard Solutions’ Proprietary Information and Leopard Solutions’

Trade Secrets. Leopard Solutions employs technological measures, code-based barriers and other

safeguards to prevent unauthorized access and intrusions into its software system including

firewalls, anti-virus programming, audits and other measures. Access for Authorized Users is

provided through protected passwords and an authentication process. Leopard Solutions’ interface

also limits the type and quantity of information that Authorized Users can access and download

through their searches. In addition, Leopard Solutions enters into confidentiality and non-

disclosure agreements with its subscribers, vendors, contractors and other third parties that restrict

the disclosure, copying and use of Leopard Solutions’ Proprietary Information.



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        9.      Leopard Solutions’ Website also contains Terms of Use and a Subscription

Agreement that govern the use of Leopard Solutions Website by website visitors and access to its

database.

        10.     Among other things, the relevant Terms of Use and Subscription Agreement on

Leopard Solutions’ Website prohibit:

                •     Mak[ing] unreasonable computer-generated inquiries or copies of the Content
                      or engag[ing] in systematic, excessive or wholesale copying, printing and/or
                      downloading of Content for the purpose of aggregating or storing the Content
                      in an archival database for later retrieval or to otherwise circumvent the
                      purposes or limitations of the Agreement; and
                •     download[ing] all or any part of the Services or Content to Client’s customers
                      or any third-party facilities or network to enable any sharing of all or any part
                      of the Services or Content or any data, information or documentation derived
                      therefrom, or otherwise make the Content available to any individual or entity
                      that is not an Authorized User.
        11.     These agreements also state that:

                •     Client acknowledges and agrees that the Services and Content and the form,
                      format, mode or method of compilation, selection, configuration, presentation
                      or expression thereof, are the confidential, proprietary, and trade secret
                      information, products, process and data of Company (the “Confidential
                      Property”). Client shall receive and maintain the Confidential Property as a
                      confidential disclosure and shall not disclose all or any part of the Confidential
                      Property to any other person or entity, except as necessary to do so in order to
                      receive or implement the Services and Content as permitted hereunder and in
                      accordance with the terms of the Agreement; and
                •     To the fullest extent permitted or available under applicable law, Company
                      hereby asserts and claims, and Client hereby recognizes and acknowledges,
                      Company’s ownership of all right, title and interest in and to the Confidential
                      Property, the Services, the Content, and all related data, information and
                      documentation, and the form, format, mode or method of compilation,
                      selection, configuration, presentation or expression thereof, and any and all
                      related copyright, patent, trademark, service mark and confidential proprietary
                      and trade secret information and rights.

        12.     Due to the sophistication of Leopard Solutions’ software platform and search

functions, and the quality and depth of Leopard Solutions’ Proprietary Information, Leopard

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Solutions has grown from a small start-up established around 2005 to a leader in its field and is

the premier source of information for legal recruiters, attorneys, law firms, law schools and the

legal industry. In fact, Leopard’s cutting-edge product offerings are at the forefront of its industry.

Love’s Misappropriation of Leopard Solutions’ Proprietary Information and Leopard
Solutions’ Trade Secrets

        13.      Upon information and belief, Legalist is a litigation finance company, that, among

other things, funds commercial lawsuits on behalf of plaintiffs. While plaintiffs can directly apply

to Legalist for funding, Legalist also reaches out to lawyers through emails and other means to

solicit its services.

        14.      Upon information and belief, Legalist monitors docket sheets and new case filings

to find attorneys who may be interested in its litigation funding services. It also sends unsolicited

email blasts to attorneys on a more general basis. An example of an unsolicited email sent by

Legalist to numerous attorneys pursuant to a recent marketing campaign is set forth below:

                 Subject: [Attorney Name] - let me know?

                 [Attorney Name] - even if you don’t have a case right now in need
                 of funding, would be awesome to connect in case funding becomes
                 relevant in the future.

        15.      Upon information and belief, Legalist needs email addresses and other information

on attorneys to conduct its email campaigns and find attorneys who might have an interest in

Legalist’s services. Information on attorneys in specific practice areas, for instance, attorneys who

specialize in litigation, as well as information on attorneys in specific geographic regions, is

extremely important to Legalist’s marketing efforts. This type of information is exactly the sort of

information that is found in Leopard Solutions’ Proprietary Information and Leopard Solutions’

Trade Secrets.


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        16.     Upon information and belief, Love is the Director of Product at Legalist. He has

an extensive background in technology and artificial intelligence, something that he did not

disclose to Leopard Solutions during their discussions.

        17.     On or about August 4, 2021, Love contacted Leopard Solutions seeking a

subscription to Leopard Solutions’ software platform. He had discussions with Leopard Solutions’

salespersons and claimed that he wanted to see how the software search engine in Leopard

Solutions’ software platform operated in order to make a purchasing decision.

        18.     A free trial is a commonly utilized process wherein a prospective customer is

allowed to preview or try out a product or service at no cost for a limited period of time to aid the

customer in making a purchasing decision. A Free Trial is not a paid purchase, and the consumer

is not permitted full access to or to take possession to the offered product or service in lieu of

payment.

        19.     Based on Love’s representation that he needed to see how Leopard Solutions’

software platform operated in order to make a purchasing decision, Leopard Solutions provided

Love with access to its database platform on a free trial basis for 48 hours (the “Free Trial”).

        20.     Love was expressly told that he was not permitted to download any Content during

the Free Trial, and Leopard Solutions granted him access its database platform and Leopard

Solutions’ Proprietary Content on that basis.

        21.     At all relevant times, Leopard Solutions emphasized the proprietary and

confidential nature of Leopard Solutions’ Proprietary Content.

        22.     Although Love represented that his intention was to see how Leopard Solutions’

platform worked, his conduct was much more nefarious. Once Love gained access to Leopard

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Solutions’ software system, he concocted and engaged in a scheme to copy Leopard Solutions’

Proprietary Information and Leopard Solutions’ Trade Secrets by repeatedly and systematically

downloading records over the 48-hour period of access. In fact, in a 2-day period Love copied

over 250,000 records – an enormous portion of the records in Leopard Solutions’ database.

        23.     The manner in which Love downloaded Leopard Solutions’ Proprietary

Information was calculating and exacting and took extensive planning.             Because Leopard

Solutions’ software system has a download restriction of 10,000 records, Love systematically

searched for and downloaded batches of records that fell under that threshold.

        24.     Love’s searches were deliberate. He performed complicated searches and targeted

specific data sets on specific individuals, as opposed to general information in a geographic region.

This type of searching took advance effort and planning and was part of a scheme enacted by Love

to misappropriate Leopard Solutions’ Proprietary Information and Leopard Solutions’ Trade

Secrets without paying for them.

        25.     It took an astonishing number of searches to stay under the threshold and take what

Love took. To accomplish his scheme, Love engaged in non-stop searches for hours at a time.

        26.     On August 16, 2021, Love conducted 58 discrete searches, each retrieving an

average of 1000-2000 distinct records over a 4 ½ hour period, and took nearly 90,000 records.

        27.     Upon information and belief, Love then spent the next day further formulating his

scheme to target specific information that would benefit Love and Legalist commercially and to

take even more records.

        28.     On August 18, 2021, Love began downloading at 5:35 a.m. and continued until

11:30 a.m. He conducted over 100 searches and downloaded approximately 140,000 records in

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batches that ranged from 500 – 2000 records. He then took a break and began downloading again

for another 2 hours and took an additional 25,000-plus records, ending his conduct just as his

access was about to expire. In total, Love spent 13 hours actively searching and downloading in

several non-stop sessions that involved 160 different searches,

        29.         As Love had determined, by keeping his search batches small, he was able to

engage in excessive downloads and circumvent Leopard Solutions’ download restrictions and also

stay under Leopard Solutions’ radar by not placing a large download in Leopard Solutions’ queue.

By so doing, Love was able to copy an enormous portion of Leopard Solutions’ Proprietary

Information.

        30.         Leopard Solutions also had other free trials that occurred during the same time

period as the Free Trial with Love. None of those other entities downloaded any records during

their free trial.

        31.         In a typical subscription, a user might conduct up to 5 searches a day. The number

of records downloaded by Love during the 48-hour Free Trial exceeded more than any other

subscriber has ever taken in several months’ time, including large subscribers with more than 200

active users.

        32.         Leopard Solutions’ investment of time, energy, money and resources into Leopard

Solutions’ Proprietary Information and Leopard Solutions’ Trade Secrets is substantial. Had Love

and Legalist purchased from Leopard Solutions the degree of access and Content that they took,

the cost would have been significantly higher than the typical subscription.

        33.         Leopard Solutions’ fee for non-subscribers on a per record basis is $1.00. At the

very least, Love and Legalist would have been charged a fee of approximately $250,000 if they


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had negotiated a payment for the Content that they took. However, given the excessive and

extensive copying of Leopard Solutions’ Proprietary Information and Leopard Solutions’ Trade

Secrets, Legalist and Love are now in a position to recreate Leopard Solutions’ database as a

whole, a platform worth millions of dollars.

          34.   Upon information and belief, Love and Legalist have utilized Leopard Solutions’

Proprietary information to build and enhance their own database and marketing list. It would have

taken significant time and expense for Love and Legalist to gather data on 250,000 individual

attorneys on their own. It would have taken even more time and expense to clean up errors in the

data collected and transform the data into a usable format. Further, Love and Legalist would not

have been able to obtain the historical information contained in Leopard Solutions’ Proprietary

Information, as that information is not readily available through public sources. By taking Leopard

Solutions’ Proprietary Information, Love and Legalist were able to avoid the time and expense

required to build their own database of information and instead used Leopard Solutions’

Proprietary Information to gain a significant advantage over their competitors.

          35.   Upon information and belief, notwithstanding the confidentiality of Leopard

Solutions’ Proprietary Information, Love and Legalist have also shared the information with others

for the purposes of capitalizing on Leopard Solutions’ Proprietary Information and Leopard

Solutions’ Trade Secrets for personal and commercial gain.

          36.   Leopard Solutions’ Proprietary Information is at risk of further dissemination to

others.

          37.   Love’s and Legalists’ conduct was willful and intentional and conducted with

malice.


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        38.     Love was the conscious, moving active force in the misappropriation alleged

herein. Further, Legalist is responsible for the misappropriation of Leopard Solutions’ Proprietary

Information by its agent, Love.

        39.     As a result of Defendants’ actions, Leopard Solutions has been monetarily damaged

in an amount to be determined at trial.

        40.     As a result of Defendants’ wrongful conduct, Leopard Solutions has sustained, and

will continue to sustain, immediate irreparable harm for which Leopard Solutions has no adequate

remedy at law, and Defendants must be restrained to prevent further disclosure and harm to

Leopard Solutions.

        41.     Leopard Solutions’ investigation into Defendants’ conduct is still ongoing and it is

likely to find additional unauthorized access, intrusions, interference and data theft.

                                 FIRST CLAIM FOR RELIEF
                                      (Breach of Contract)
                               As to Defendants Love and Legalist

        42.     Plaintiff incorporates by reference herein the allegations in the above paragraphs 1

to 41 as though fully set forth herein.

        43.     An oral contract existed between Leopard Solutions and Love and Legalist that

prohibited the downloading, use and disclosure of Leopard Solutions’ Proprietary Information

during the Free Trial.

        44.     Leopard Solutions fully performed its contractual obligations.

        45.     Love breached the contract by downloading Leopard Solutions’ Proprietary

Information and by using and disclosing Leopard Solutions’ Proprietary Information to others.




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        46.      As a result of Defendants’ wrongful conduct, Leopard Solutions has been damaged

and will continue to be damaged in an amount to be determined at trial but in any event not less

than $250,000.

                                SECOND CLAIM FOR RELIEF
                       (Unjust Enrichment under New York common law)
                                     As to All Defendants

        47.      Plaintiff incorporates by reference herein the allegations in the above paragraphs 1

to 46 as though fully set forth herein.

        48.      Defendants’ have wrongfully misappropriated Leopard Solutions’ Proprietary

Information and Leopard Solutions’ Trade Secrets without Leopard Solutions’ authorization at

Leopard Solutions’ expense and have been enriched thereby.

        49.      Defendants have profited from the misappropriated Leopard Solutions’ Proprietary

Information and Leopard Solutions’ Trade Secrets by avoiding the significant expense involved in

obtaining such information through legitimate means and have thereby obtained an advantage over

competitors in an amount to be determined at trial but in any event not less than $250,000.

        50.      As a result of Defendants’ wrongful conduct, Leopard Solutions has been damaged

and will continue to be damaged in an amount to be determined at trial but in any event not less

than $250,000.

        51.      It is against equity and good conscience to permit Defendants’ to retain Leopard

Solutions’ Proprietary Information and Leopard Solutions’ Trade Secrets without compensation

to Leopard Solutions.




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                              THIRD CLAIM FOR RELIEF
              (Misappropriation of Trade Secrets under New York common law)
                            As to Defendants Love and Legalist

        52.      Plaintiff incorporates by reference herein the allegations in the above paragraphs 1

to 51 as though fully set forth herein.

        53.      At all times relevant hereto, Leopard Solutions exercised reasonable efforts to

maintain the confidentiality and secrecy of Leopard Solutions’ Trade Secrets by among other

things, limiting subscribers’ access to Leopard Solutions’ Trade Secrets except on an authorized

and confidential basis and maintaining certain technological safeguards to prevent unauthorized

access to Leopard Solutions’ Trade Secrets.

        54.      Leopard Solutions’ Trade Secrets derive independent economic value from not

being generally known to or readily ascertainable through proper means by another person who

can obtain economic value from the disclosure and use of such information, and they have

conferred a competitive advantage to Leopard Solutions over others in the legal information

services industry.

        55.      Defendants have willfully and maliciously misappropriated Leopard Solutions’

Trade Secrets in violation of New York law.

        56.      Defendants have profited from the misappropriated Leopard Solutions’ Proprietary

Information and Leopard Solutions’ Trade Secrets by avoiding the significant expense involved in

obtaining such information through legitimate means and have obtained an advantage over

competitors in an amount to be determined at trial but in any event not less than $250,000.

        57.      As a result of Defendants’ wrongful conduct, Leopard Solutions has been damaged

and will continue to be damaged in an amount to be determined at trial but in any event not less

than $250,000.
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        58.      As a result of Defendants’ wrongful conduct, Leopard Solutions has sustained, and

will continue to sustain, immediate irreparable harm.

                                 FOURTH CLAIM FOR RELIEF
              (Violation of the Defense of Trade Secrets Act, 18 U.S.C. § 1836 et seq.)
                                 As to Defendants Love and Legalist

        59.      Plaintiff incorporates by reference herein the allegations in the above paragraphs 1

to 58 as though fully set forth herein.

        60.      Leopard Solutions is the owner of Leopard Solutions’ Trade Secrets.

        61.      Leopard Solutions’ Trade Secrets are related to Leopard Solutions’ services, which

are sold in interstate commerce.

        62.      Leopard Solutions’ Trade Secrets derive independent economic value from not

being generally known to or readily ascertainable through proper means by another person who

can obtain economic value from the disclosure and use of such information, and they have

conferred a competitive advantage to Leopard Solutions over others in the legal industry.

        63.      Defendants have misappropriated Leopard Solutions’ Trade Secrets in violation of

the Defense of Trade Secrets Act by improper means and without authorization.

        64.      Defendants have profited from the theft of Leopard Solutions’ Trade Secrets by

avoiding the significant expense involved in obtaining the information contained in Leopard

Solutions’ Trade Secrets through legitimate means and by obtaining an advantage over their

competitors in an amount to be determined at trial but in any event not less than $250,000.

        65.      As a result of Defendants’ wrongful conduct, Leopard Solutions has been damaged

and will continue to be damaged in an amount to be determined at trial but in any event not less

than $250,000.

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        66.     As a result of Defendants’ wrongful conduct, Leopard Solutions has sustained, and

will continue to sustain, immediate irreparable harm.

                                   FIFTH CLAIM FOR RELIEF
                      (Violation of California Computer Data and Fraud Act)
                                As to Defendants Love and Legalist

        67.     Plaintiff incorporates by reference herein the allegations in the above paragraphs 1

to 66 as though fully set forth herein.

        68.     Love knowingly accessed Leopard Solutions’ computer system, and, without

permission, downloaded, copied and used Leopard Solutions’ data, including Leopard Solutions’

Proprietary Information and Leopard Solutions’ Trade Secrets, and circumvented technical and

code-based barriers in place to restrict the copying and downloading of Leopard Solutions’

Proprietary Information and Leopard Solutions’ Trade Secrets.

        69.     Love knowingly accessed Leopard Solutions’ computer system and, without

permission took, copied and made use of data from Leopard Solutions’ computer system.

        70.     Love’s actions were conducted in order to execute a scheme or artifice to defraud

or deceive Leopard Solutions and/or wrongfully obtain Leopard Solutions’ data.

        71.     Love’s actions were conducted with fraud or malice.

        72.     Love’s actions were conducted on his own behalf and on behalf of Legalist.

        73.     As a result of Defendants’ wrongful conduct, Leopard Solutions has been damaged

and will continue to be damaged.

        74.     As a result of Defendants’ wrongful conduct, Leopard Solutions has sustained, and

will continue to sustain, immediate irreparable harm.

        75.     Love’s conduct violated Cal. Pen. Code, § 502(c).
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        76.      As a result of the above, Plaintiff is entitled to damages, exemplary damages,

punitive damages, attorneys’ fees and other relief.

                                  SIXTH CLAIM FOR RELIEF
                      (Breach of Terms of Use and Subscription Agreement)
                                     As to Love and Legalist

        77.      Plaintiff incorporates by reference herein the allegations in the above paragraphs 1

to 76 as though fully set forth herein.

        78.      In the alternative, Leopard Solutions’ Terms of Use and Subscription Agreement

on its website governs access to and use of Leopard Solutions’ Proprietary Information.

        79.      Leopard Solutions fully performed its contractual obligations.

        80.      Defendants have breached Leopard Solutions’ Terms of Use and Subscription

Agreement.

        81.      As a result of Defendants’ wrongful conduct, Leopard Solutions has been damaged

and will continue to be damaged in an amount to be determined at trial but in any event not less

than $250,000.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff demands judgment against Defendants and respectfully requests

that:

        1.       The Court grant judgment in favor of Plaintiff and against all Defendants on all of

Plaintiff’s claims;

        2.       The Court issue a permanent injunction against all Defendants, their officers,

agents, subsidiaries, servants, partners, employees, attorneys, and all others in active concert or

participation with them:


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                a.     requiring Defendants to return all of Leopard Solutions’ Proprietary

                Information and Leopard Solutions’ Trade Secrets;

                b.     enjoining Defendants from using or disclosing Leopard Solutions’

                Proprietary Information and Leopard Solutions’ Trade Secrets to any party, at any

                time, and for any reason;

                c.     requiring Defendants to provide an accounting of the whereabouts of

                Leopard Solutions’ Proprietary Information and Leopard Solutions’ Trade Secrets,

                including all files, data, information removed, downloaded, transferred or

                forwarded to any third parties,

                d.     requiring Defendants to delete all Content obtained from Leopard Solutions

                anywhere it may reside, including the computer system and servers of any of the

                Defendants or on any other computer, electronic device, or cloud accounts, hard

                copy documents, or any other materials in Defendants’ possession, custody, or

                control;

                e.     requiring Defendants to provide written certification to Leopard Solutions’

                counsel of their compliance with paragraph (d) above; and

                f.     requiring Defendants to permit inspection by Leopard Solutions or a

                forensic computer expert selected by Leopard Solutions, of any such devices to

                confirm deletion of Leopard Solutions’ Proprietary Information and Leopard

                Solutions’ Trade Secrets in accordance with the above, at Defendants’ expense.

        3.      The Court award Leopard Solutions a judgment against all Defendants on the above

claims in an amount of damages as may be proven at trial, but in no case less than 5 MILLION

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DOLLARS, including the disgorgement of any profits, benefits, or compensation received as a

result of Defendants’ misconduct, and allowing the recovery of punitive damages and legal fees,

as may be appropriate;

        4.      The Court award Leopard Solutions statutory damages;

        5.      The Court award Leopard Solutions exemplary damages, punitive damages and

        attorneys’ fees pursuant to Cal. Pen. Code, § 502(e)(2), 18 U.S.C. § 1836 et seq and other

        applicable law;

        6.      The Court award Leopard Solutions costs, and pre-and post-judgment interest as

applicable; and

        7.      The Court grant Plaintiff such other and further relief as the Court deems just,

equitable, and proper.

Dated: December 2, 2021
       New York, New York
                                               Respectfully submitted,

                                               COWAN, LIEBOWITZ & LATMAN, P.C.


                                                 /s/ Meichelle R. MacGregor
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